8:02-cr-00252-JFB-SMB                 Doc # 115     Filed: 04/07/08       Page 1 of 1 - Page ID # 424


PRO B. 35                                                             Report and O rder Term inating Probation/Supervised
(R ev. 7/04)                                                                     Release Prior to O riginal Expiration D ate



                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA

                      v.                           Docket # 8:02CR252

               Kim E. Hieb

______________________________

               On January 9, 2004, Kim E. Hieb was sentenced to five (5) years probation. The period of

probation commenced on January 9, 2004. Ms. Hieb has complied with the rules and regulations

of probation and is no longer in need of supervision. It is accordingly recommended that Kim E.

Hieb be discharged from probation.


                                                   Respectfully submitted,



                                                   Kit Lemon, Supervising
                                                   U.S. Probation Officer


                                         ORDER OF THE COURT

               Pursuant to the above report, it is ordered that the probationer be discharged from

supervision and that the proceedings in the case be terminated.
                             7th                   April
               Dated this            day of                     , 2008.




                                                   The Honorable Joseph F. Bataillon
                                                   Chief United States District Judge
